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                             OR
                              IGINAL
                     IN THE UNITEDSTATESDISTRICTCOURT
                                                                      i.;li ll,.I        ri 3:t0
                    FORTHE SOUTHERNDISTRICTOF GEORGIA

                                 AUGUSTA DIVISION                         SB.       IO   0A.
 HENRYMICKLEONARDMCGEE.                     )
                                            )
               Petitioner,                  )
                                            )
                                            ) cv 112-178
                                            ) (Formerly       & CR110-073)
                                                      CR109-035
 UNITED STATESOF AMERICA,

               Respondent.


         MAGISTRATE JUDGE'SREPORTAND RECOMMENDATION


        Petitioner,an inmateconfinedto federalcustodyat FCI Jesupin Jesup,Georgia"has

 frled with this Court a motion under 28 U.S.C. $ 2255 to vacate,set aside,or correct his

 sentence.The matteris now beforethe Court on Respondent'smotion to dismissPetitioner's

 $ 2255 motion as untimely. (Doc. no. 3.) Petitioneropposesthe motion, (doc. no. 5), and

 Respondentfiled a reply to Petitionsr'sopposition,(doc. no. 6). For the reasonsset forth

 below, the Court REPORTS and RECOMMENDS that the motion to dismissbe DENIED

 and that the govemmentbe directedto file an answerto Petitioner's$ 2255 motion.

        BACKGROUND

        Petitionerwasindictedin two federalcasesin 2009and2010. In the first, he was

                                    with knowingly and intentionallydistributing 69.94
 charged,along with two co-defendants,

 grams of cocaine base, a ScheduleIl controlled substance,in violation of 21 U.S.C.

 g 8al(a)(1). United Statesv. McGee,CR 109-035,doc. no. I (S.D. Ga. Mar.5,2009)

 (hereinafter"CR 109-035). In the secondcase,Petitionerwas indictedon four counts:One

 and Two, possessionof a firearm by a prohibited person, in violation of 18 U.S.C.
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 gg SZZ(gXt), 922(9)(9),afi 92a@)Q),and,Threeand Four, possessionof a stolenflrearm,

 in violationof 18 U.S.C.$$ 922()and924(a)(2).UnitedStatesv. McGee,CR 110-073,doc.

 no. I (S.D. Ga. Mar. 4,2010) (hereinafter
                                        "CR 1l0-073').

                                                             by RobertJ. Lowe, Jr., in
        On January11, 2010,Petitioner,who was then represented

 both cases,pled guilty to Count One in CR 109-035without a plea agreement.CR 109-035,

                           movedto withdrawthat guilty plea,however,andthe Honorable
 doc.no. 99. He subsequently

 J. RandalHall, United StatesDistrict Judge,grantedhis motion on May 26,2010. Id., doc.

 nos. 106, I | 8. Meanwhile, Petitionerfiled a motion to allow Mr. Lowe to withdraw in CR

 109-035,and Mr. Lowe hled a motion to withdraw in CR 110-073,both of which were

 granted. CR 109-035,doc. nos. 113, 119;CR 110-073,doc. nos.32,35. JamesPete

 Theodocionwasthereafterappointedto representPetitionerin both caseson July 7, 2010. CR

 109-035,doc.no. 124;CR I l0-073,doc.no. 38.

        ShortlyafterMr. Theodocionwas appointed,on July 12,2010,Petitionerenteredinto

 writtenpleaagreements
                    in bothcases.'CR 109-035,doc.no. 128;CR I l0-073,doc.no. 42.

 On July 22,2010, JudgeHall held a Rule ll hearing,where Petitionerpled guilty to

 unlawfully, knowingly, andintentionallydistributingover 5 gramsofcocainebase,a Schedule

 II controlled substance,in violation of 2l U.S.C. $ 8a1(a)(l), which was a lesserincluded

 felonyoffenseof CountOnein CR 109-035. CR 109-035,doc.no.128;CR 110-073,doc.no.

 60. During the samehearing,Petitioneralso pled guilty to Counts One and Three of the

 indictment in CR 110-073,in exchangefor the govemment'sagreementto dismissCounts



    rPartofPetitioner'sobligationunderthepleaagreement
                                                     in CR I 10-073wasto pleadguilty
           included
 to a lesser        felony offenseofCount One in CR 109-035. SeeCR 110-073,doc. no.
 42,pp.2-3.
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 Two and Four in thatcase.CR 110-073.doc.nos.42. 60.

        On December 1, 2010, dwing a sentencinghearing for both cases,Judge Hall

 sentencedPetitionerto 168monthsof imprisonmentfor the offensein CR 109-035,and 120

 monthsof imprisonmentfor the offensesin CountsOne and Three in CR 110-073,with the

 two sentencesto be servedconcurrently. CR 110-073,doc. no. 61. An identicaljudgment

 bearingboth casenumberswas enteredin both casesthe next day. CR 109-035,doc. no. 133;

 CR I 10-073,doc. no. 47. Petitionerthen frled a pro se notice of appealwith the Eleventh

 Circuit Court ofAppeals which was captionedand docketedin CR 110-073on December9,

 2010, and the Court ofAppeals appointedcounsel,ColetteR. Steel,to representPetitioneron

 appeal.CR 110-073,doc.nos.48,57. On August15,2011,however,the CourtofAppeals

 grantedPetitioner'smotion to voluntarily dismisshis appealand dismissedthe appealwith

 prejudice.Id., doc.no. 65.

        Petitionerthen filed a motion to vacate.set aside.or correcthis sentenceunder 28

 U.S.C. $ 2255 in this Courton November28, 2011. SeeMcGeev. UnitedStates,CV 111-

 192,doc.no.1 (S.D.Ga.Nov. 28, 201l) (hereinafter
                                                "CV 1l l-192"). In his $ 2255motion

 in CV I I 1-192,Petitionerclaimedthathe receivedineffectiveassistance
                                                                     ofcounselconcerning

 adviceaboutthe appealwaiver in his plea agreementandadviceaboutvoluntarily dismissing

 his appeal,that the governmentbreachedthe plea agreement,and that he receivedineffective

 assistanceof counselon appealdue to counsel's failure to raise multiple claims of error

 concerningPetitioner'ssentence.Seeid. at 14-26. After being directedto a file a response,

 thegovemmentfiled amotion to dismissin CV I I l-192, contendingthatPetitionerwasbarred

 frorn seekingreliefunder $ 2255by an appealwaiver in his pleaagreement,that his guiltyplea

 was knowing and voluntary,and that the govemmentdid not breachthe plea agreement.See
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 id., doc. no. 3, pp. l0-20. Thereafter,Petitionersubmitteda motion to voluntarily dismisshis

 { 2255 motion in CV l1l -192, which the Court grantedin an Order datedAugttst 17,2012,

 dismissingthe motion without prejudiceand closingthe case. Seeid., doc. nos. 9, 10.

        The instantmotion was signedon November 12,2012, "placed in the prison mailing

 system"on November 13, 2012, and receivedand filed by the Clerk of Court on November

 21,2012. (Doc. no. I,pp. 1, 13.) Petitionerraisesa singleclaim therein: that his guilty pleas

 and appealwaiver were involuntarilyenteredinto as a resultofineffective plea counsel. (ld.

 at 4.) The govemmentmovesto dismissPetitioner's$ 2255 motion as untimely. (Doc. no.

 3.) Petitioneropposesthegovemment'smotion to dismiss,contendingthat his $ 2255 rnotion

 is tinrely basedon Clay v. UnitedStates,537 U.S. 522,525 (2003),which providesthat a

 conviction doesnot becomefinal until the time for seekingcertiorarireview ofthe dismissal

 ofan appealexpires,or, altematively,that he is entitledto equitabletolling ofthe limitations

 period. (Doc. no. 5.) The govemmentfiled a reply asserlingthat Clay is inapplicablebecause

 Petitioner voluntarily dismissedhis appeal and that Petitioner is not entitled to equitable

 tolling. (Doc. no. 6.) The Coufi resolvesthe matteras follows.

 II.    DISCUSSION

        28 U.S.C. $ 2255, as amendedby the Antiterrorism and Effective Death PenaltyAct

 of 1996("AEDPA"), providesa one-yearstatuteof limitationsfor $ 2255 motions.According

 to the AEDPA, the statuteof limitationsperiod shallrun from the latestof four possibledates:

         L      the dateon which thejudgment ofconviction becomesfinal;

        2.      thedateon which theimpedimentto makingamotion createdby govemmental
                actionin violation ofthe Constitutionor lawsofthe United Statesis removed,
                if the movant was preventedfrom making a motion by such governmental
                actlon:
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         -)-     the dateon which the right assertedwas initially recognizedby the Supreme
                 Couft, ifthat right hasbeennewly recognizedby the SupremeCourt andmade
                 retroactivelyapplicableto caseson collateralreview; or

         ll
                 the dateon whichthe factssupportingthe claim or claimspresentedcould have
                 beendiscoveredthroush the exerciseofdue dilisence.

        {i225s(0.
 28U.S.C.

         As Petitionerhas outlined no reasonto supposethat $$ 2255(1)(2),(3), or (4) apply

 here, the instant caseis governedby $ 2255(0(l). There are two issuesto be resolvedin

 determining when Petitioner'sjudgment of conviction becamefinal, however. The lirst is

 whetherthereare two datesof hnality, as the governmentcontends: oneinCR i09-035 and

 anotherin CR 110-073,basedon the fact that Petitioner'snoticeof appealwas only captioned

 and frled in CR 110-073. The secondis whetherPetitioner'sjudgmentofconviction became

 final on the date his appeal was voluntarily dismissedby the Eleventh Circuit, as the

 govenrmentcontends,or afterthe period for seekingcertiorarireview ofthe dismissalwith the

 SupremeCourt of the United Statesexpired,as Petitionercontends. The Court will address

 eachof thesein tum.

         A.      One Date of Finality

         The govemmentassertsthattherearetwo differentdatesoffinalif, in this case:one for

 Petitioner'sconviction in CR 109-035,and anotherin CR 110-073,as Petitioneronly filed a

 notice ofappeal that wascaptionedin the latter.'] (Seedoc. no. 3, pp. 5-6; doc. no. 6, p. I n.1.)


     rAccording to the Eleventh Circuit,"[a] conviction ordinarily becomesfinal when the
 opportunity for direct appealof thejudgment ofconviction has been exhausted." Akins v.
 United States,204 F.3d 1086,1089n. I (llth Cir. 2000). In CR 109-035,judgmentwas
 enteredon December2,2010. The governmentcontendsthat becausePetitionerdid not file
 a notice of appealin CR 109-035,his conviction in that casebecamefinal in Decemberof
 2010. (Doc.no. 3, p. 6 (citingAkins,204 F.3dat 1089n.1;Fed.R. App. 4(bX1XA) & 26).)
 In CR 110-073,however, in which Petitionerunquestionablyfiled a notice of appeal,the
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 While he doesnot clearly respondto the govemment's assertionthat there me two datesof

 finality, Petitionergenerallyassertsthat thereis one datehis judgment of conviction became

 final. (Seedoc.no. 5.)

        As noted earlier,while Petitioneronly captionedhis notice of appealin CR I l0-073,

 he was sentencedin both casesat one hearing,and an identicaljudgment was enteredin both

 cases. To that end, the EleventhCircuit has specifrcallyaddressedthe effect of a notice of

 appealwhich is only captionedin onecase,wherethe defendantwassentencedin multiple cases

 in one consolidatedhearingand a singlejudgmentwas entered.In United Statesv. Grant,256

 F.3d I 146( I I th Cir. 2001),thedefendantwasindictedin two cases,in the first of which he was

 convictedby ajury and in the secondof which he was convictedafter a benchtrial. Id. at

 1149-50. The defendantwas then sentencedat a consolidatedhearingon June 18, 1999. Id.

 at 1150. The district court enteredonejudgmentasto both cases,which borethe casenumbers

 for both cases.Id. The defendantthenproceededto file a notice of appeal,but he only listed

 the casenumberof one of the casesin the notice. Id. Still, he statedin the notice that he was

 appealingthe"JudgmenlandCommittment[sic]enteredin thisaclionon June18. 199q."' td.

        The EleventhCircuit found,however,that because"a consolidatedsentencinghearing

 on both caseswas held in the district court" and because'lherewas only onejudgment and

 commitmentorderenteredforboth cases,"thatthedefendanthadtimely filed a noticeofappeal

 "from the singlejudgmentandcommitmentorder,eventhoughthatnoticeofappealrnentioned



 govemmentconcedesthat Petitioner'sconviction in that casebecamefinal, at the earliest,
 whenthe appealwasdismissedon August15,2011. (Seeid.; doc.no.6, pp. 2-3.)
     rTwo months later, the defendantfiled a secondnotice of appealwith the other case
 number, as well as a requestto the district court that he be allowedto submit an out-of-time
 appealofthat case,which the district court granted. Grant, 256 F.3d at I 150.
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 only one of the two casenumbers." Id. at 115i. The court thus concludedthat defendant's

 "first noticeofappeal indicatesan intentto appealboth cases,"andthat the court thereforehad

 jurisdiction to review defendant'sappealwith respectto both casesbasedsolely on the hrst

 notice of appeal. Id.

        Here, as in Grant,id. at I 150,Petitionerwas sentencedin both casesat a consolidated

 sentencinghearing,seegenerallyCR 110-073,doc. no. 61, and therewas only onejudgment

 and commitmentorder enteredwhich boreboth casenumbers,seeCR 109-035,doc. no. 133;

 CR 110-073, doc. no. 47.4 Moreover, in Petitioner'spro se notice of appeal,he stated

 genericallyat the outset,like the defendantin Grant,256F.3d at I 150,that he wasgiving notice

 of appeal"from thejudgmentand sentenceby this Court on December2, 2010,- CR I 10-073,

 doc.no. 48, p. 1.

        Ofcourse,in Petitioner'scase,his appealwasvoluntarilydismissedbeforetheEleventh

 Circuit itselfever addressed
                            whetherPetitionerwas in fact appealingboth CR 109-035and CR

 110-073. Still, Grantmakesclearthat wheretwo casesareresolvedin a singlejudgment,and

 a defendantappealsthatjudgment,his imprecisionregardingthecasenumbersdoesnot prevent

 a court flom concluding that he intendedto appealboth casesdisposedofby that judgment.

 The govemment'sposition,however,ignoresthe fact that Petitioner,thoughhe only captioned



    tFurther underscoringthe interrelatedness
                                            ofthese two cases,Petitionerhere enteredhis
 guilty pleasin both at the sameRule 1I hearing,seeCR 110-073,doc. no. 60, and one ofthe
 termsin his plea agreementin CR 110-073was that he entera guilty plea in CR 109-035,see
 id.,doc.no.42,pp.2-3. Indeed,Petitionerinitiallyentereda guiltypleasolelyin CR 109-035,
 seeCR 109-035,doc. no. 99, but he successfullywithdrew that guilty plea, seeid., doc. nos.
 106, I18, and then enteredinto two related plea agreementsafter Mr. Theodocion was
 appointedto representhim, seeid., doc. no. 128;CR 1l0-073, doc. no. 42. The defendantin
 Grant, on the otherhand,underwentseparatetrials in his two cases,256 F.3d at I 149-50,yet
 the EleventhCircuit still construedhis notice of appealas encompassingboth cases.
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 his noticeofappeal in CR 110-073,was appealingthe samejudgmententeredin CR 109-035.

 In light ofGrant, the Court finds herethat Petitioner'snoticeofappealin CR 110-073indicated

 his intentto appealthejudgmentasa whole,includingboth CR 109-035andCR I 10-073.That

 being the case,it follows that there is a single datethat Petitioner'sjudgment of conviction

 becamefinal in this case,which is eitherwhen his appealwas voluntarily dismissed,or when

 the time for seeking cefliorari review from the SupremeCourt expired. The Court thus tums

 to that issue.

        B.        Judgment of Conviction Became Final When the Period For Seeking
                  Certiorari Review with the Supreme Court Expired

        Petitionercontendsthat his $ 2255 motion is timely becausehe had 90 days after the

 Eleventh Circuit dismissedhis appealon August 15, 2011, to file a petition for a writ of

 cerliorari,and that his judgment ofconviction in both casesthereforedid not becomefinal for

 purposesofg 2255(f)(1)until that time expired. The government,on the otherhand,contends

 that, becausePetitionervoluntarily dismissedhis appeal,his judgment of conviction became

 final on the datethe EleventhCircuit dismissedthe appealwith prejudice.

        To beginwith, underClav, 537 U.S. at 532,*for federalcriminal defendantswho do not

 file a petition for certiorari with [dre Supreme]Court on direct review, $ 2255's one-year

 limitation period staftsto run when the time for seekingsuchreview expires." Seealso Close

 v. UnitedStates,336 F.3d 1283,1285( I lth Cir. 2003)("[A]judgmentof convictionbecomes

 final when the time expiresfor filing a petition for certiorarisontestingthe appellatecourt's

 affirmationof the conviction."). Moreover,pursuantto SupremeCourt Rule 13(1),apartyhas

 90 daysafterthe Court ofAppeals entersits judgmentto file a petition for a writ ofcertiorari-

        Applying theseprinciplesto the caseat handunderthe assumptionthat Petitionercould
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 file a petitionfor a writ of certiorariconceming
                                                theEleventhCircuit'sdismissa"l
                                                                            of his appeal,

 the90-dayperiodfor filing thepetitionexpiredandhisjudgmentof convictionbecamefinal,

 attheearliest,      November
             onMonday,      14, 2011.5SeeCla],,537U.S.
                                                   at532;Sup.Ct.R.13,30.

                                 ofconvictionwasnotfinaluntilNovember14,201l, his
 Accordingly,ifPetitioner'sjudgment

 $ 2255filing deadlinewouldbe,at theearliest,oneyear(three-hundred
                                                                andsixty-fivedays)

              November13,2012.
 later,Tuesday,

        Petitionerfited the instant$ 2255motionon November13, 2012.6 Therefore,if

 Petitioner'sjudgmentof convictiondid not becomefinal until the time periodfor filing a

 petitionfor a writ ofcertiorariexpired,thentheinstant$ 2255motionis timely. If Petitioner's

 judgmentof convictionbecamefinal on the datethe EleventhCircuitdismissed
                                                                        his appeal,

 however,thenhis $ 2255motionis untimely.Thedisputeaboutwhichis theappropriate
                                                                             date

 is thusessential
               to thetimeliness
                              determination.

        "The EleventhCircuit,"however,"hasnot addressed
                                                      the issueof whena conviction

       final aftera directappealis voluntarilydismissed."Mandersv. UnitedStates,6:10-
 becomes

             1, 2012WL 7273'7,at * 1 (M.D. Fla.Jan.10,2012).Moreover,thereis no
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         amonscourtswithin or outsidetheEleventhCircuit which haveaddressed
 consensus                                                                the issue.


   5TheEleventhCircuit enteredits OrderdismissingPetitioner'sappealon August 15,2011.
 CR I l0-073, doc. no. 65. The 90-dayperiod for filing a petition for writ of certiorariexpired
 on Sunday,November 13,2011, but pursuantto Sup. Ct. R. 30, becausethat day fell on a
 Sunday,theperiodwasextendedthroughMonday,November14,20 i l, assumingthe Supreme
 Court was open on that date.
    6UnderHoustonv. Lack, 487 U.S. 266,276 (1988),Petitioner'smotion is deemedfiled on
 the dateof deliveryto prison officials for mailing. SeealsoAdamsv. United States,173F.3d
 1339,1341(1 lth Cir. 1999)Qtercuriam) ($ 2255 motion deemedfiled on datethe petitioner
 "signed, executed,and deliveredhis petition to prison authoritiesfor mailing"). Petitioner
 declaredunderpenaltyof perjury that he deliveredhis $ 2255 motion to the "prison mailing
 system"on November13,2012. (Doc.no. I, p. 13.)
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  What becomesapparentfrom reviewingthesecases,however,is that the inquiry ultimately

 tumsontherelatedissueofwhethera defendant                    hisappealis legally
                                        whovoluntarilydismisses

 permittedto seekcertiorarireviewfrom the SupremeCourt.TComoareLathamv. United

                                                     C.J.)(notingthatpetitionerwho
  States,527F.3d651, 651-52(lth Cir. 2008)(Easterbrook,

  voluntarilydismissed
                     his appealwas"entitledto asktheSupreme
                                                          Courtto review[theCourt

                     by writ of certiorari,"anddateconvictionbecamefinal wasthusafter
  ofAppeals'sljudgrnent

  90-dayperiodfor seekingcertiorariexpired)with Westmoreland
                                                           v. Hetzell,840F. Supp.2d

  1275,1279(N.D.Ala. 2011)(concluding
                                    that$ 2254petitionerwhovoluntarilydismissed
                                                                              his

  appealwith theAlabamaCourtof CriminalAppeals"waivedanybasislor seekingreviewby

  theSupreme
           Court"andthatconvictionbecame
                                      finalondateappealwasvoluntarilydismissed)

                              thepetitionerhadpreviouslyvoluntarilydismissed
         In Latham,for example,                                            his appeal,

  buthehadalsofileda motionto reinstate
                                      hisappeal,asserting
                                                        thathis lawyermisledhim about

               of thedismissal.527F.3d,at 652. Reversing
  theconsequences                                      thedistrictcourt'srulingthat

  thepetitionerwastime-barred
                            in partbecause          who dismisses
                                         "a defendant           his appealis not

                                      CircuitnotedthatthestatutegoverningSupreme
  entitledto seekcertiorari,"theSeventh                                        Court

  reviewof casesin theCourtsof Appeals"allows'any' party,includinga prevailingparly,to



     Tlndeed,the govermlent contendsin its reply that Petitioner'sjudgmentofconviction was
  final when he voluntarily dismissedhis appealbecause,at that point, "[h]e voluntarily had
  given up any further review, including certiorari." (Doc. no. 6,p.2.) While the govemment
  cites casesin supportofthis proposition,(p99id. at 2-3), it doesnot cite any authoritythat is
  bindingon thisCourt. See.e.g.,Stemv. UnitedStates,     No.2:05-CV-207,2005WL2922457,
     +
  at 2 (S.D. Ohio, Nov. 3, 2005)      (concluding   that "becausethe appeal was voluntarily
  disrnissed,therewasno basisuponwhich to seeka petition for a writ of certiorari," br;dfailing
  to cite any authority in support);Lemonsv. Conway, No. CV-05-243-S-MHW, 2006 WL
  560642,at x2-3 (D. IdahoMar. 7, 2006) (concludingthat petitioner"could not proceedto a
  higher court on his claims asa resultofhis voluntarydismissal"ofhis appealwith the Idaho
  SupremeCourt, but noting that petitionerdid not disputedateof finality).

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  petition for certiorar:i,"so long as the caseis "in" a Court of Appeals. Id. (quoting 28 U.S.C.

  $ 1254). The court thus concludedthat after the Court of Appealsdismissesan appeal,the

  defendant "is entitled to ask the Supreme Court to review [that] judgment by writ of

  certiorari[.]" Id. at 653. In other words, the SeventhCircuit concludedthat the rule in Clav

  applieswith the sameforcewhentheappealis dismissedvoluntarilybecausethe defendantmay

  still have somelegal basisfor seekingreview of that dismissal. Seeid.

         In Wesfinoreland,on the other hand, where the court concludedthat the petitioner

  "waived any basisfor seekingreview by the SupremeCourt" with the voluntary dismissalof

  his appeal,the court was explicit that the petitioner"never soughtto reinstatethe appeal"and

  "never raisedany claim that his attomeyrenderedineffectiveassistance
                                                                     in filing the voluntary

  dismissalor in otherwisefailing to pursuethe direct appeal." 840 F. Supp.2d at 1279. The

  court thusconcludedthat thepetitioner's"direct appealdid not resultin anyadjudicationon the

 merits which could haveprovidedany basisfor review in the SupremeCourt." Id.

         With this authority in mind, the Court concludeshere that Petitioner'sjudgment of

 convictiondid not becomefinal until the 90-dayperiodfor filing a petition for writ ofcertiorari

 expired. In reachingthis conclusion,the Court agreeswith the reasoningin Lathamthat,under

 28 U.S.C. $ 1254,where a defendantvoluntarily dismisseshis appealin a federal Court of

 Appeals,he is still "entitled to ask the SupremeCourt to review [that] judgment by writ of

 certiorari[.]"527F.3dat 653;seealsoUnitedStatesv. Parker,416 F. App'x 132,132(3d Cir.

 2011) (citing Lathamand agreeingwith governnentthat "there is no known precedentfor the

 propositionthat a criminal defendantwho seeksvoluntarydismissalofan appealis foreclosed

 from filing a petition for certiorari challengingthe dismissal"). Indeed,while the court in

 Westrnorelandreachedthe oppositeconclusion,the instantcaseis distinguishable.Unlike the

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 petitionerin Westmorelandwho "neverraisedanyclaim" that his attorneywasineffectivewith

 respectto the dismissalof the appeal,Petitionerhere did allegein his $ 2255 motion in C\z

  111-192that he receivedineffectiveassistance
                                             of counselwith respectto advicehe received

 aboutthe dismissalofhis appeal.SeeCV I I l-192, doc.no. 1,pp. 14-17;seealsoLatham,5Z1

  F.3d at 652 (defendantassertedthat his lawyer misled him about the consequencesof

  dismissing his appeal). Therefore,the Court concludesthat Petitioner could have sought

  certiorarireview ofthe voluntary dismissalof his appeal,and that his judgment of conviction

  did not becomefinal until the period for seekingsuchreview expired.

         C.      Section 2255 Motion is Timely

         As noted above,the 90-day period for seekingcertiorari review in the instant case

  expired,at the earliest,on November14,2011. SeeCR 110-073,doc.no. 65; Sup.Ct. R. 13,

  30. BecausePetitionerfiled the instant$ 2255 motion on November 13,2012, the motion is

 timely,sandthe government'smotionto dismissshouldbe denied.See28U.S.C. $ 2255(0(1).

  III,   CONCLUSION

         For the reasonsset forth above.the Court REPORTS and RECOMMENDS that the

  motion to dismiss be DENIED and that the sovemmentbe directed to file an answer to

  Petitioner'sd 2255motion.

         SOREPORTEDandRECOMMENDEDonthtscJfu4ayof May,2013,at Augusta,

  Georgia.




    ETheCourt thus neednot reachPetitioner'sargumentthat he is entitledto equitabletolling
 of the limitations period. (Doc. no. 5, pp. 2-5.)

                                              t2
